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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION


KENNETH R. FLAUM, Individually,

               Plaintiff,

vs.                                                      Case No.     LJ))J.£vJ3*f
YORK RIVER CROSSING ASSOCIATES,
L.L.C., a Virginia Limited Liability Company,

               Defendant.



                                           COMPLAINT


       Plaintiff, KENNETH R. FLAUM, Individually, on his behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff), hereby sues

the Defendant, YORK RIVER CROSSING ASSOCIATES, L.L.C., a Virginia Limited Liability

Company, (sometimes referred to as "Defendant"), for Injunctive Relief, attorney's fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seg^

("ADA"), and damages pursuant to Virginia law and states as follows:

                                JURISDICTION AND PARTIES


1.     Plaintiff, Kenneth R. Flaum, is an individual residing in Gloucester, VA, in the County of

       Gloucester.


2.     Defendant's property, YRC Cinemas, is located at 2226 York Crossing Dr., Hayes, VA

       23072, in the County of James City.

3.     Venue is properly located in the EASTERN Districtof VIRGINIA because venue lies in the

       judicial district of the property situs. The Defendant's property is located in and does

       business within this judicial district.
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4.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

         jurisdiction over actions which arise from the Defendant's violations of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et sea. See also 28 U.S.C. § 2201 and

         § 2202.

5.       Plaintiff Kenneth R. Flaum is a Virginia resident, is sui juris, and qualifies as an individual

         with disabilities as defined by the ADA. Mr. Flaum has a service connected disability and

         has been evaluated at 100% disabled. Mr. Flaum has back fusions, has rheumatoid arthritis,

         and had two hip replacements, and uses the aid of a scooter or wheelchair for mobility. Mr.

         Flaum is totally and permanently disabled due to his service connected disabilities, and he

         is substantially limited in performing one or more major life activities, including walking.

         Kenneth R. Flaum has visited the property which forms the basis of this lawsuit and plans

         to return to the property to avail himselfofthe goods and services offered to the public at the

         property. The Plaintiffhas encountered architectural barriers at the subject property, which

         have limited his access to the Defendant's property, and to the goods, services, facilities,

         privileges, advantages, and accommodations offered at Defendant's property. The ADA

         violations and barriers to access at the property are more specifically set forth in this

         Amended Complaint. The barriers to access at the property have also endangered his safety.

                                              COUNT I
     (VIOLATION OF TITLE HI OF THE ADA) (INJUNCTIVE RELIEF DEMANDED)



6.       The allegations set forth in paragraphs 1-5 above are incorporated by reference as if fully set

         forth herein.


7.       Defendant owns, leases, leases to, or operates a place of public accommodation as defined

         by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

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         Defendant is responsible forcomplying withtheobligations ofthe ADA. Theplaceof public

         accommodation that the Defendant owns, operates, leases or leases to is known as YRC

         Cinemas, and is located at 2226 York Crossing Dr., Hayes, VA 23072.

8.       Kenneth R. Flaum has a realistic, credible, existing and continuing threat of discrimination

         from the Defendant's non-compliance with the ADA with respect to this property as

         described but not necessarily limited to the allegations in paragraph 10 of this Amended

         Complaint. Plaintiffhas reasonable groundsto believe that he will continueto be subjected

         to discrimination in violation of the ADA by the Defendant. Kenneth R. Flaum desires to

         visit YRC Cinemas not only to avail himself of the goods and services available at the

         property but to assure himself that this property is in compliance with the ADA so that he

         and others similarly situated will have full and equal enjoyment ofthe property without fear

         of discrimination.


9.       The Defendant has discriminated against the individual Plaintiff by denying him access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

         accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.      The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

         violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992

         (or January 26,1993, if Defendant has 10 or fewer employees and gross receipts of$500,000

         or less). A preliminary inspection of YRC Cinemas has shown that violations exist. These

         violations personally encountered by Kenneth R. Flaum include, but are not limited to:

         Parking and Accessible Routes

         A.     In this parking facility, there are an insufficient number of spaces designated for
                disabled use, violating Section 208.2 of the Standards for Accessible Design.
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    B.   The disabled use parking spaces that are provided at this facility are not located on
         the shortest accessible route to the accessible entrances as required in Section 208.3.1
         of the Standards for Accessible Design.

    C.   Thedisabled usespaces and access aisles contain slopes or cross slopes inexcess of
         1:48 contrary to the requirements of Section 502.4 of the Standards for Accessible
          Design.

    D.    There are passenger unloading zones provided for public use without designating
          areas for disabled use in violation of Section 209 of the Standards for Accessible
          Design.

    E.    There are no disabled use parking spaces designated as "van accessible" violating
          Sections 208.2.4 and 502.6 of the Standards for Accessible Design.

    F.    Some ofthe doors at the facilityare fitted with inaccessible hardware, in violation of
          Section 404.2.7 of the Standards for Accessible Design.

    G.    The lowersurfaces (up to 10"AFF) of the push side ofsome doorsat the facility are
          not smooth as required in Section 404.2.10 of the Standards for Accessible Design.

    H.    The maneuvering clearance of some of the doors at the facility do not comply with
          the requirements of Section 404.2.1 of the Standards for Accessible Design.

    I.    The clear width of some of the doors at the facility does not comply with the
          requirements of Section 404.2.3 of the Standards for Accessible Design.

    J.    Some ofthe door thresholds at the facility are not in compliance with Section 404.2.5
          of the Standards for Accessible Design.

    K.    There are ramps at the facility that contain excessive slopes in violation of Section
          405.2 of the Standards for Accessible Design.

    L.    Thereare ramps at the facility that do not have level landings in violationof Section
          405.7 and of the Standards for Accessible Design.

    M.    There are ramps at the facility that contain excessive cross slopes in violation of
          Section 405.3 of the Standards for Accessible Design.

    N.    The dimensions of the ramp landings that are provided do not comply with the
          requirements of Sections405.7.2,405.7.3,405.7.4 and 405.7.5 of the Standards for
          Accessible Design.

    O.    There are ramps at the facilitythat lack hand rails on both sides as required in Section
          405.8 of the Standards for Accessible Design.
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    P.    Therearerampsat the facility that lackthe edge protection required in Section 405.9
          of the Standards for Accessible Design.

    Q.    There are curb ramps at the facility contain excessive slopes, side slopes or cross
          slopes in violation of Sections 405.2 and 405.3 of the Standards for Accessible
          Design.

    R.    There are stairs provided at the facility that do not comply with the standards
          prescribed in Section 504 of the Standards for Accessible Design.

    S.    There is not a continuous path of travel connecting all essential elements of the
          facility, in violation of Sections 206.2.2 of the Standards for Accessible Design.

    T.    There are protruding objects present throughout the facility, in violation of Sections
          204 and 307 of the Standards for Accessible Design.

    Access to Goods and Services


    U.    There are permanently designated interior and exterior spaces without the signage
          required in Sections 216 of the Standards for Accessible Design.

    V.    The signs that are provided at this facility do not comply with the requirements of
          Section 703 of the Standards for Accessible Design.

    W.    There are sales and service counters throughout the facility that do not comply with
          the requirementsofSections227.3 and 904.4 ofthe Standards for AccessibleDesign.

    X.    There are self-service areas with dispensers whose controls do not comply with the
          requirements of Sections 308 and 309 of the Standards for Accessible Design.

    Y.    There are dining and work surfaces provided at the facility that do not comply with
          the standards prescribed in Sections 226 and 902 of the Standards for Accessible
          Design.

    Public Restrooms


    Z.    There are exposed pipes in some of the restrooms at the facility, violating Sections
          213.3.4 and 606.5 of the Standards for Accessible Design.

    AA.   The lavatories provided in some of the restrooms do not meet the requirements
          prescribed in Sections 213.3.4, 606.2 and 606.3 of the Standards for Accessible
          Design.

    BB.   Some of the restroom doors at the facility have improper hardware for disabled

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             patrons, in violation of Section 404.2.7 of the Standards for Accessible Design.

      CC.    The maneuvering clearances that are provided at some of the restroom doors do not
             comply with the requirements of Section 404.2.4 of the Standards for Accessible
             Design.

      DD.     Some of the toilet stalls provided for public use at the facility are in violation of
              Sections 604.8.1 and 604.8.2 of the Standards for Accessible Design.

      EE.    Some of the water closets that are provided for public use at the facility violate the
             provisions of Sections 604.2 thru 604.7 of the Standards for Accessible Design.

      FF.    The mirrors provided for public use in some ofthe restrooms do not comply with the
             requirements in Sections 213.3.5 and 603.3 of the Standards for Accessible Design.


      GG.    The location ofthe flush control on many ofthe public use W/Cs at the facility does
             not comply with the requirements of Section 604.6 of the Standards for Accessible
             Design.


11.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

      Defendant's ADA violations. Plaintiff requires the inspection of the Defendant's place of

      public accommodation in order to photograph and measure all of the discriminatory acts

      violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

      individuals similarly situated, have been denied access to, and have been denied the benefits

      of services, programs and activities ofthe Defendant's buildings and its facilities, and have

      otherwise been discriminated against and damaged by the Defendant because of the

      Defendant's ADA violations, as set forth above. The individual Plaintiff, and all others

      similarlysituated,will continue to suffer such discrimination, injury and damagewithoutthe

      immediate relief provided by the ADA as requested herein.          In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of

      public accommodation in order to determine all of the areas of non-compliance with the
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      Americans with Disabilities Act.


12.   Defendant has discriminated against the individual by denying him access to full and equal

      enjoyment of the goods, services, facilities, privileges, advantages and/oraccommodations

      of its place of public accommodation or commercial facility in violation of 42 U.S.C. §

      12181 et seq. and 28 CFR 36.302 et sea. Furthermore, the Defendant continues to

      discriminate against the Plaintiff, and all those similarly situated by failing to make

      reasonable modifications in policies, practices or procedures, when such modifications are

      necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that may

      be necessary to ensure that no individual with a disability is excluded, denied services,

      segregated or otherwise treated differently than other individuals because of the absence of

      auxiliary aids and services.

13.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

      retained the undersigned counsel and is entitled to recover attorney's fees, costs and litigation

      expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14.   Defendant is required to remove the existing architectural barriers to the physically disabled

      when such removal is readily achievable for its place of public accommodation that have

      existed prior to January 26,1992,28 CFR 36.304(a); in the alternative, if there has been an

      alteration to Defendant's place of public accommodation since January 26, 1992, then the

      Defendant is required to ensure to the maximum extent feasible, that the altered portions of

      the facility are readily accessible to and useable by individuals with disabilities, including

      individuals who use wheelchairs, 28 CFR 36.402; and finally, ifthe Defendant's facility is

      one which was designed and constructed for first occupancy subsequent to January 26,1993,

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      as defined in 28 CFR 36.401, then the Defendant's facility must be readily accessible to and

      useable by individuals with disabilities as defined by the ADA.

15.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violationsbyJanuary26,1992 (or January26,1993, if Defendanthas 10or feweremployees

      and gross receipts of $500,000 or less). All other conditions precedent have been met by

      Plaintiff or waived by the Defendant.

16.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including anorderto require theDefendant to alter YRC Cinemas tomake

      those facilities readily accessible and useable to the Plaintiff and all other persons with

      disabilities as defined by the ADA, or by closing the facility until such time as the Defendant

      cures its violations of the ADA.


                                            COUNT II
                         VIRGINIA STATE CLAIM (DAMAGES)


17.   Plaintiff re-alleges and incorporates into this cause of action each and every allegation

      contained in the previous paragraphs numbered 1 through 16 of this Amended Complaint.

18.   Defendant's Property is a place ofpublicaccommodation under Section51.5-44of the Code

      of Virginia.

19.   The architectural barriers and other accessibility barriers institute an ongoing act of

      discrimination against the Plaintiff as a person with a disability in violation of Section

      51.5-44 of the Code of Virginia.

20.   As a direct and proximate result of Defendant's intentional and negligent failure to remove

      its barriers to access, Plaintiff has been denied access and his civil rights have been violated.
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21.   Consequently, the Plaintiffseeks monetary damagesfromthe Defendantpursuantto Section

      51.5-46 of Code of Virginia for the discrimination he has experienced and continues to

      experience.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily

             achievable alterations to the facility; or to make such facility readily accessible to and

             usable by individuals with disabilities to the extent required by the ADA; and to

             require the Defendant to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such steps that may be necessary to ensure that no

             individual with a disability is excluded, denied services, segregated or otherwise

             treated differently than other individuals because ofthe absence ofauxiliary aids and

             services.


      c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205, and such other relief as the Court deems necessary, just and proper.

      d.     The Court issue a Declaratory Judgment that the Defendant has violated The

             Virginians With Disabilities Act and award Plaintiff monetary damages from the

             Defendant pursuant to Section 51.5-46 of the Code of Virginia.
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                                                            Respectfully Submitted,

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                                                            and Kenneth R. Flaum



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